       Case 4:05-cr-00137-JMM           Document 86       Filed 03/03/06      Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                                 NO. 4:05 CR 137 JMM

JULIAN ALLMON
STEVEN BURSE                                                                DEFENDANTS

                                             ORDER

       Pending before the Court are the Defendant Allmon’s Motion to Suppress Evidence,

which Defendant Burse joins, and Defendant Allmon’s Second Motion to Suppress Evidence and

Supplemental Motion to Suppress. In the Motion to Suppress, Defendants seek to suppress

evidence of the detention, arrest, pat down, and search of the apartment on April 5, 2005, which

resulted in a two-count indictment for conspiracy to possess with intent to distribute crack

cocaine and with possession of a firearm during and in relation to a drug trafficking crime.

Defendants argue such was conducted without a warrant in violation of the Fourth Amendment.

       The Second Motion to Suppress Evidence involves a tape-recording and transcript of a

telephone conversation between Derek Allmon and Defendant Allmon. This telephone call was

between Defendant Allmon and his uncle, Derek Allmon, who was incarcerated at the time in

Tennessee, and occurred on April 7, 2005. The Defendant alleges that the government has the

burden of proving that the seizure of the recording was authorized under an exception to the

warrant requirement of the Fourth Amendment. He argues in the Supplemental Motion to

Suppress that the taped conversation should be excluded under the Fourth Amendment and under

the Federal Wiretap Act, 18 U.S.C. §2511 and 2515.

       The Court hereby denies the Defendants’ Motion to Suppress Evidence regarding the

                                                 1
       Case 4:05-cr-00137-JMM           Document 86        Filed 03/03/06      Page 2 of 8




April 5, 2005 arrest, and grants the Second Motion to Suppress Evidence, and the Supplement

thereto involving the tape-recording and transcript.



                                    STATEMENT OF FACT

                                       April 5, 2005 Arrest

       A hearing on the motions to suppress was held before this Court January 3, 2006,

wherein three police officers who were involved in the arrest of April 5, 2005, testified. In that

testimony, it was revealed that police officers were called to the scene of a two-story apartment

building by the landlord who complained of vagrants and possible narcotics use. After two

officers arrived, and while waiting for the landlord, they walked around the building in single

file. The officer in front found a purse on the ground, and when he reached to pick it up, objects

began falling onto the air conditioning units for the building. These units were about six feet in

front of the officer. The officer looked up and saw a man in a second-story window throwing

objects out, and he later identified that man as Julian Allmon.

       The officers returned to the front of the building and met the landlord.   These three then

began talking to two men who were leaving the building, Defendants Burse and Mitchell. At

that point, the first police officer went back around the building to retrieve what had been thrown

from the window. He recovered a sandwich bag, white rocklike substance and a 40 caliber

Glock pistol. He went back to the front of the building and helped to place Burse and Mitchell in

custody. When he got back to the apartment building, he and the other officers (back-up officers

had arrived by that time) were admitted into the building by the landlord who used his key. He

found at least one officer speaking with Julian Allmon in the common area of the apartment


                                                 2
       Case 4:05-cr-00137-JMM           Document 86        Filed 03/03/06      Page 3 of 8




building and advised that officer to arrest Allmon because Allmon had been the man leaning

from the window throwing out objects.

       Allmon was then taken into custody and patted down. Police recovered keys and money.

Allmon was taken to the police car.1 The officers and the landlord then returned to the building

and were heading up to apartment #7, where Allmon had been leaning from the window. A

woman came out of apartment #7 and closed the door. She said she did not live there and did not

have a key. She was searched and officers found a glass tube pipe in her jacket pocket. The

landlord’s key did not work, as the locks had been changed. The woman in custody stated that

Julian Allmon lived there and had a key. Another officer retrieved the keys taken from Allmon

and the officers gained entry into the apartment, with the landlord’s consent. The officers

claimed to have concerns about entering the apartment because one gun had already been found,

and they were not sure if anyone else was in the apartment. Further, because the sandwich bag

had been thrown out of the apartment window, they had cause to believe that other evidence may

be subject to being destroyed. When the officers entered the apartment, a sweep was done to

ensure that no other persons were inside. They found a gun lying on top of the mattress in the

bedroom, a pair of scales in the living room, and a plate in the bathroom with white residue on it.

The officers did not touch anything, and after the apartment was secured, narcotics detectives

were called in to do the search.




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        Testimony from the officers differed regarding when Allmon was first searched. One
stated he was searched after he was taken to the police car. Another stated he was searched
before taken to the car. In both instances, officers testified that he was placed in custody before
he was patted down. Both also stated that the items were removed from his pockets and placed
on the police car before Allmon was placed in the car.

                                                 3
       Case 4:05-cr-00137-JMM            Document 86      Filed 03/03/06     Page 4 of 8




                               Recorded Telephone Conversation

       The discovery material obtained by the Defendants includes a tape recording and

transcript of a telephone conversation between Derek Allmon and Defendant Julian Allmon. In

it, the April 5, 2005 incident was discussed. Derek Allmon was incarcerated in Tennessee at the

time the conversation was recorded. Each time an inmate at this facility uses the telephone, an

operator message is played warning the parties that the call may be monitored and recorded.

Derek Allmon called a middleman, who then added Defendant Julian Allmon as a party to the

call only after having made calls to other parties. (This was done in order to allow Derek

Allmon to talk to more than one person while avoiding multiple phone calls.) Therefore, Julian

Allmon was not privy to the operator’s message when the original call was placed regarding

monitoring and recording. There is no evidence of Julian Allmon having had prior telephone

conversations with Derek Allmon from the facility in Tennessee.

       The portion of the transcript that goes to whether Defendant Julian Allmon had any

knowledge of the conversation being recorded states as follows:

D. ALLMON:                            Mmm hmm. Oh well shit man you don’t claim nothing on
                                     that
                              and shit. Don’t even claim across this mother fucking phone.
                              (Laughing) Shit.

J. ALLMON:                    I ain’t.

D. ALLMON:                            You don’t. Don’t, I just said you don’t cause they’re
                                      taping this
                              here so shit. Oh (UI) real. Mmm hmm.

J. ALLMON:                    I know you ah.



                                    STATEMENT OF LAW

                                                4
       Case 4:05-cr-00137-JMM           Document 86        Filed 03/03/06      Page 5 of 8



       The Eighth Circuit Court of Appeals has held that the Fourth Amendment protects a

person’s right to be secure in their person, house, papers, and effects, against unreasonable

searches and seizures. U.S. Const. Amend. IV. It is unreasonable for a house to be searched

without a warrant, absent exigent circumstances. U.S. v. Hill, 430 F.3d 939, 941 (8th Cir. 2005)

citing (Payton v. New York, 445 U.S. 573, 590, 100 S.Ct. 1371, 63 L.Ed.2d 639 (1980)). A

legitimate concern for the safety of law enforcement officers or other individuals constitutes

exigent circumstances that justify warrantless entry. Id., citing (U.S. v. Vance, 53 F.3d 220, 222

(8th Cir. 1995); U.S. v. Antwine, 873 F.2d 1144, 1147 (8th Cir. 1989)). The government has the

burden of proving that a warrantless search comports with the Fourth Amendment. U.S. v. Rouse,

148 F.3d 1040 (8th Cir. 1998).

       Fourth Amendment rights are personal, and therefore, a person challenging a search must

demonstrate that he has a legitimate expectation of privacy in the area searched. U.S. v. Kaylor,

877 F.2d 658 (8th Cir. 1989). “... a defendant must demonstrate that he personally has an

expectation of privacy in the place searched, and that his expectation is reasonable...” Minnesota

v. Cater, 525 U.S. 83, 88, 119 S.Ct. 469, 142 L.Ed.2d 373 (1998); see also U.S. v. Sturgis, 238

F.3d 956.

       The Fourth Amendment’s general prohibition against warrantless searches does not apply

when consent from the person whose property is searched or from a third party with common

authority over the property is obtained. U.S. v. Esparza, 162 F.3d 978, 980 (8th Cir. 1998); U.S.

v. Hines, 387 F.3d 690, 694 (8th Cir. 2004).

       Police may conduct a warrantless search incident to a lawful arrest, even absent probable

cause or reasonable articulable suspicion. U.S. v. Horne, 4 F.3d 579 (8th Cir. 1993). Officers



                                                 5
        Case 4:05-cr-00137-JMM           Document 86        Filed 03/03/06      Page 6 of 8



must have a reasonable belief that the area harbors an individual posing a danger to those at the

arrest scene. Id., at 586.

       It is not unlawful to intercept a telephone communication if a party to the communication

has given prior consent to the interception. 18 U.S.C. §2511(2)(c)(2000). This interception is

not a violation of the Fourth Amendment. U.S. v. Coronoa-Chavez, 328 F.3d 974, 978 (8th Cir.

2003) citing (U.S. v. White, 401 U.S. 745, 753, 91 S.Ct. 1122, 28 L.Ed.2d 453 (1971). The

government has the burden of proving consent. Id., citing (U.S. v. Gomez, 900 F.2d 43, 44 (5th

Cir. 1990). A voluntary participant in an intercepted telephone conversation, knowing that the

call is being intercepted, has impliedly consented to the interception. Id., citing (U.S. v. Horr,

963, F2d 1124 (8th Cir. 1992).

       The Eighth Circuit Court of Appeals has held that a prison inmate has no expectation of

privacy in his telephone conversations when he was aware that inmate telephone conversations

were monitored and recorded. U.S. v. Horr, 963 F.2d 1124 (1992).         In U.S. v. Peoples, 250

F.3d 630 (8th Cir. 2001), the Court found that conversations between an inmate and a visitor

within a prison, where the inmate and visitor were separated by a glass partition and spoke to one

another over an internal telephone device, were not protected as the defendants had no

reasonable expectation of privacy.

                                           DISCUSSION

                                        April 5, 2005 Arrest

       Defendants argue that because the detention, arrest, pat down, and search of the

apartment were all conducted without a warrant, the resulting evidence should be suppressed as

it was obtained in violation of the Fourth Amendment. The government has the burden of



                                                  6
       Case 4:05-cr-00137-JMM            Document 86        Filed 03/03/06     Page 7 of 8



proving the warrantless search comports with the Fourth Amendment. Because no warrant was

issued prior to the arrest and search of the apartment, the government must show exigent

circumstances. Based upon the officers’ testimony, objects were thrown from the building and

the landlord had been complaining of vagrancy and narcotics use. Once on the scene, these

factors gave the officers reason to detain and later arrest the defendants.

       Here, Allmon was arrested because he had been seen throwing objects from the

apartment, which objects were found to be a gun, a sandwich bag, and white rocklike substance.

The pat down incident to the arrest was therefore appropriate.

       These circumstances, coupled with Allmon’s statements claiming he had not been in the

apartment, was in fact in the building to visit another apartment, and a witness at the scene

stating that Allmon had the key to the apartment give rise to the exigent circumstances needed by

the police officers to act without a warrant. The police officers also testified that they had cause

to be concerned about their safety because Allmon had thrown a gun from the apartment, and

they were not sure if anyone else was in the apartment.

         Notwithstanding his possession of the key, Defendant Allmon denied that the apartment

was his. In fact, the apartment was leased under a woman’s name. Based on these facts, it is

difficult to find that Defendant Allmon had an expectation of privacy in the apartment.

However, even if the Court found Allmon had that expectation, a warrantless search incident to a

lawful arrest, coupled with the officers’ reasonable belief that one or more people could be in the

apartment, does not violate the Fourth Amendment.

       Finally, as Allmon was denying any interest in the apartment, the landlord gave

permission to enter the apartment. However, based upon the exigent circumstances, consent in



                                                  7
       Case 4:05-cr-00137-JMM            Document 86        Filed 03/03/06      Page 8 of 8



this instance was not necessary.



                                Recorded Telephone Conversation

       Defendant Julian Allmon did not give his consent or his implied consent to have the

telephone conversation recorded. The transcript of the conversation between he and his uncle

does not in itself translate the recorded message given by the operator that the calls are subject to

monitoring and recording. There is no evidence that Defendant Allmon knew that his call might

be recorded. There is no evidence showing that Defendant Allmon had heard the recorded

message in the past. The transcript is not clear as to what Defendant Allmon knew after Derek

Allmon warned him. The facts herein are distinguishable from the cases cited above in that

Defendant Allmon was not an inmate, and was not a visitor at the jail. He had an expectation of

privacy in the telephone conversation with Derek Allmon on April 7, 2005.

                                         CONCLUSION

       Therefore, the Defendants’ Motion to Suppress Evidence is DENIED (#66, #69) ;

and the Defendant’s Second Motion to Suppress Evidence and Supplemental Motion to Suppress

is GRANTED (#74, #79).

       IT IS SO ORDERED this            3rd      day of March, 2006.




                                                      James M. Moody
                                                      United States District Judge




                                                  8
